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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLORADO


Civil Action No.: 21-cv-02818

DOUGLAS COUNTY SCHOOL DISTRICT RE-1,
C.B., by and through his parent and next friend, E.B.,
A.R., by and through his parent and next friend, L.R.,
J.G., by and through his parent and next friend, K.G.,
B.A., by and through her parent and next friend, J.A.,
M.M., by and through her parent and next friend, K.M.,
D.B., by and through his parent and next friend, J.B.,
R.P., by and through her parent and next friend, B.H.,
D.W., by and through his parent and next friend, G.W.,
A.L., by and through his guardian and next friend, C.L.

              Plaintiff(s),

v.

DOUGLAS COUNTY DEPARTMENT OF PUBLIC HEALTH,
DOUGLAS COUNTY BOARD OF HEALTH

              Defendant(s).

______________________________________________________________________

           INFORMATION FOR TEMPORARY RESTRAINING ORDER
______________________________________________________________________


Attorneys for Plaintiffs:

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Attorney for Defendants: Douglas County Attorney’s Office

Telephone number: 303-660-7414

Concise statement as to type of claim: Violation of the Americans with Disabilities Act
and Section 504, based on a recent Public Health Order from the Douglas County
Board of Health and Health Department allowing anyone in Douglas County to opt out
of any masking requirement countywide and limiting who can be quarantined in Douglas
County after exposure to a COVID-19-positive person. The Douglas County School
District and several disabled children, through their parents and guardians, bring claims
alleging the Public Health Order discriminates against children with disabilities by
denying them meaningful access to an education within the School District and denying
them the reasonable accommodations of universal masking and adequate quarantine
protocols. Plaintiffs also seek declarations that the Public Health Order violates the ADA
and Section 504 and is preempted by these federal laws.

Jurisdiction (cite statute) 28 U.S.C. § 1331

Hearing: See D.C.COLO.LCivR.7.1A

       Date Motion for Temporary Restraining Order filed: 10/20/21

        Estimated length of hearing: At least five hours, and possibly a full day for
Plaintiffs’ case. Unknown how much time Defendants will require for their case.

       Request hearing be set for _____ today _____ tomorrow __X__ within one week

        Reason why immediate action is necessary: Disabled children are risking serious
injury or death each day they attend in-person school without adequate
accommodations and safety measures to protect the at-risk children from COVID-19
exposure. Alternatively, if disabled children are required to learn remotely to protect
their health because they have not been accommodated, they will receive a less
effective education due to discrimination. In either case, immediate action is necessary
to protect at-risk children and guarantee them meaningful access to their education.

The Douglas County School District is on vacation the week of October 18-22, but
school will resume on Monday, October 25, with the Public Health Order in effect.

Notice:

       Has opposing party and/or attorney been notified? X Yes _______ No

      If “yes,” state when we are notifying counsel for the opposing parties
contemporaneously with the filing the motion for TRO and by what means by telephone,
and then all pleadings, including the TRO motion, will immediately be sent by email.



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         If “no,” state reason ______________________________________________




(Rev. 11/04)




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